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Attorneys ‘for Plaintiffs |

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

BOARD OF TRUSTEES OF THE Case No. 08 CV-00498-LJO-JLT
KERN COUNTY ELECTRICAL
PENSION FUND, BOARD OF DECLARATION OF BILLIE
TRUSTEES OF THE KERN COUNTY) HANNER IN SUPPORT OF
ELECTRICAL WORKERS HEALTH ) PLAINTIFFS’ APPLICATION FOR
& WELFARE TRUST, AND BOARD ) DEFAULT JUDGMENT BY COURT
OF TRUSTEES OF THE KERN .

COUNTY ELECTRICAL
JOURNEYMAN AND
APPRENTICE TRAINING TRUST, Hearing Date: June 1, 2012
. Time: 9:00 am
' Plaintiffs, Courtroom: SuiteA
Judge: Hon. Jennifer Thurston .
Vv.

CHRISTOPHER BURGONI, an

individual, and doing business as

ALPHA OMEGA ELECTRIC;

TADOC ENTERPRISES, INC., a

California corporation doing business

as ALPHA OMEGA ELECTRIC;

FULCE ENTERPRISES, INC., a oo .
California corporation, and DOES 1 Complaint Filed: April 10, 2008
through 50, inclusive, .

_ Defendants.

I, Billie Hanner, declare as follows:

l. Iam employed as an Administrator for the Kern County Electrical
Workers Trust Funds, comprised of the Kern County Electrical Pension Fund, Kern

County Electrical Workers Health & Welfare Trust, and the Kern County Electrical

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Dec.of Billie Hanner In Sup. of Plaintiffs’ App. for Default Judgment By Court Case No. 08 CV-00498-LJO-JLT

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Journeyman and Apprentice Training Trust. These Trust Funds were created to
provide employee benefits to field electrical workers and their dependents. I am
familiar with the facts stated herein and if called upon as a witness, I could and
would competently testify thereto.

2. On or about July 6, 2000, an individual by the name of Chris
Burgoni, (“Burgoni”), doing business as Alpha Omega Electric (“Alpha Omega”)
executed an agreement in writing entitled “Letter of Assent”, which thereby bound
Alpha Omega to a Collective Bargaining Agreement between the Kern County
Chapter of the National Electrical Contractor’s Association and the International
Brotherhood of Electrical Workers Local 428 (“CBA”). Said CBA incorporated the
terms and provisions of the Declarations of Trust for each of the Trust Fund
(hereinafter, and collectively, ““Agreements”). A true and correct copy of the Letter
of Assent binding Alpha Omega to the terms and provisions of the Agreements is
attached hereto as Exhibit “A”. A true and correct copy of the relevant portions of |
the Declaration of Trust for Journeyman and Apprenticeship Training Trust! is
attached hereto as Exhibit “B”.

3. Pursuant to the terms of the Agreements, Alpha Omega is required to
submit monthly reports and pay to the Plaintiffs certain sums per hour for each hour
paid and/or worked during each month by electrical workers employed by Alpha
Omega (“Contributions”). ' Said reports and Contributions were agreed to be due
and payable on the 15" day of each month after which said hours of work were
performed. Please see Exhibit “B”, page 13. .

4, Alpha Omega agreed by the terms of the Agreements that liquidated
damages in the amount of ten percent (10%) of the principal would be assessed on
all delinquent contributions. Please see Exhibit “B”, page 13.

5. The Agreements specify that in the event that suit is brought to

' This declaration of Trust is identical in substance to those for the other Plaintiffs Trust Funds.

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Dec.of Billie Hanner In Sup. of Plaintiffs’ App. for Default Judgment By Court Case No. 08 CV-00498-LJO-ILT

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recover the Contributions and liquidated damages, Plaintiffs are entitled to recover
reasonable attorney’s fees on all sums due. Please see Exhibit “B”, page 12.

6. The Agreements authorize Plaintiffs to examine and audit the
books and records of Alpha Omega to determine whether Alpha Omega is making
full and prompt payment of the Contributions to Plaintiffs. The Agreements further
provide that in the event where an audit discloses that Alpha Omega has failed to
correctly report and pay the Contributions in accordance with the Agreements for
reason other than clerical error or omission, Alpha Omega shall be liable for an
hourly charge for the audit, unpaid Contributions, liquidated damages, and
reasonable attorney’s fees and any other costs of collection. Please see Exhibit “B”,
page 13.

7. One of my duties as Administrator is to oversee the collection and
assessment of the Contributions, interest and liquidated damages owed to Plaintiffs
by contractors bound to the Agreements, including Alpha Omega.

8. In my capacity as Administrator, I have in my custody and
control the books and records of Plaintiffs which pertain to the amounts owed by
Alpha Omega to Plaintiffs. The records are made at or near the time of the act
which is recorded therein. They are made by myself or a subordinate who is
charged with the duty of making such an entry.

9. An audit of Alpha Omega’s books and records was performed in
January, 2009 which revealed that Alpha Omega had failed to correctly report and
pay the Contributions in accordance with the Agreements for some months, and
failed to report and pay at all for other months during the audit period of July 6,
2000 to December 31, 2007. oo .

10. The total of all funds owed to Plaintiffs by Alpha Omega, including
contributions and liquidated damages is $264,287.63.

11. Although demand had been made for Alpha Omega to make
payment of contributions, liquidated damages and interest, Alpha Omega has

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Dec.of Billie Hanner In Sup. of Plaintiffs’ App. for Default Judgment By Court Case No. 08 CV-00498-LJO-JLT

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refused, and continues to refuse to pay same.

12, Plaintiffs incurred $3,358.47 in audit fees, as reflected in the
Declaration of Michael Surowitz and Exhibit “C” thereto, filed herewith.

13. The Agreements are binding upon the heirs, executors,
administrators, successors, purchasers, and assigns of Alpha Omega, including any
name or style under which business is conducted with respect to work covered by
the Agreements.

14. Myrecords indicate that Alpha Omega is not an infant or incompetent
person or in military service or otherwise exempted under the Soldiers’ and Sailors’
Civil Relief Act of 1940.

I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct and this declaration was executed on this

24th day of_ April 2012, at San Diego, California.

/s/Billie Hanner (original signature retained by attorney)
Billie Hanner

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Dec.of Billie Hanner In Sup. of Plaintiffs’ App. for Default Judgment By Court Case No. 08 CV-00498-LJO-JLT

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py abor agreemont between? Kern ty Chapter, Neca
77Ee ene County eg and Looal Union

= - ~ < et dd Local Union 428 IBEW, itis understood that tha signag ot
this fetter of assent shalt be aa binding on the undersigned employer a¢ though hs had signed the above referred to agreement, Inctuding
any approved smendments thereto, and any Subsequent approved agreements.

This latter of assent shall become effective for the undersigned employar onthe 6th dayof July 2000 ang chat
remain in effect ontese and until terminated as provided In the following paragrzph.

if the undersigned employer dees NOT intend to comply with and be bound by all of the provisions in any subsequently approved
agreements betweent Kern Couney and Local Union® 423, IBEW, he ghai!
0 notify the Local Union in writing at least one hundred (100) days prior to the termination date of the then current agreemant, -

The Employer agrees that if a majority of Rs employees authorizes the Local Union to reptesant them In coltective bargaining, tha
Employer will cesognize the Local Union as tha NLRA Section Sia) collective bargaining agent for all employees performing electrical
CoOnsiTucton work within the jurisdiction of the Local Union.on all present and tuture jonanag,

Inaccondange with Ordere issued by the United States District Court for the Distriet of Maryland on October 10, 1960, In Civil Action

 HM-77-1302, If the undersigned employer is not a member of the National Electrical Cantractors Association, this hatter of assent shall not

bind the partieg to any provision in the above-mantioned agreements requiring paymerd into tha National Electrical Industry Fund, unless
the above Orders of Court shall bo Stayed, reversed on sxopeal, or otherwise pullified

SUBJECT TO THE APPROVAL OF THE INTERNATIONAL PRESIDENT, iBEW

| APPROVED I
Alpha Omega Electric \° Telephones NTRRNATIONAS CzB0ES Lew.
‘Name of Firm PAX:[ (661}- 587-8015 3

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Bakersfield, CA 93308
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eure}
NAME! Chris Birgont
TILEDATE Owner TITLEVDATE Busi mss Manager

(fr SF Oe
INSTRUCTICNS (All items runt be SOMipinied in order ior assent1o Dba RrOCeSSEd)

‘TYPE OF AGREEMENT °
Insert type of agreement Example: inside, Outbide Utility, Dutside Commercial, Gurside Tatepnone. Residential, Motor Shop, Sign. Tree Trimming.
etc, The Local Union must obtain a separate assent to each agreement the employer is assenbng ta .
"NAME OF GHAPTER OR ASSOCIATION
Insect full name of NEGA Chapter x Gonmactors Actociation Invelved
“LOCAL UNION
Insect Local Union Nusnber.
“EFFECTIVE DATE :
insert cate that the assent for this employer becomas effective. Oo natuse agieament date unless thal it ta be the attecive date of this Assent”
‘EMPLOYER'S NAME & ADDRESS
Print or type Company neme & addrecs.
“FEDERAL EMPLOYER IDENTIFICATION NO,
Insert the identification number which must Bppeer of oll ferme filed by tie emplayer with the Internal Revenue Servica
7@)GNATURES .
*SIGNER'S NAME
Print of type tha name af the permsn signing the Letter af Assent. International Otfica copy ihuat contain actcal aignatures—nal reproduced-of a
Company repretantative a5 well as a Local Union otleer,

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EXHIBIT A . 3
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OF THE

KERN COUNTY ELECTRICAL

JOURNEYMAN AND APPRENTICE TRAINING TRUST

WHEREAS, there has heretofore been entered into an Agree-
ment and Declaration of Trust, effective January 1, 1962, hy
and between the KERN COUNTY CHAPTER, NATIONAL ELECTRICAL CONTRAC—
TORS ASSOCIATION, INnCc., hereinafter referred to as the
"Association", and LOCAL NO. 428, INTERNATIONAL BROTHERHOOD
OF ELECTRICAL WORKERS, hereinafter referred to as the "Union",
and certain individual Trustees, which Agreement created
an apprenticeship and training fund as therein provided; and

WHEREAS, under Article VIII of Said Agreement and Declara~
tion of Trust, the parties have the power and authority toa
amend such Agreement and Declaration of Trust from time to
time as therein provided; and ,

WHEREAS, it is determined to be desirable to amend said
Agreement and Declaration of Trust;

, NOW, THEREFORE, the Parties have executed this Restated
“Agreement and Declaration of Trust; and

NOW, THEREFORE, the Trustees, designated and in office,
as such, have executed this Restated Agreement and Declaration
of Trust as indicating their acceptance of the respective
duties imposed upon them as Trustees under the terms of this
Agreement, to read as follows:

WHEREAS , the Association has entered into, and will
from time to time hereafter enter into, collective bargain-—
ing agreements with the Union on behalf of employees repre-
sented by it, which collective bargaining agreements have
provided and will provide, among other things, for the

Payment, by members of the Association to the Trustees of

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cr this Trust of hourly contributi: t forth in said
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collective bargaining agreements; and
WHEREAS, the sums payable to the Trust as aforesaid are
for the purpose of providing training and related benefits
as now are or may hereafter be authorized or permitted by
law for eligible Participants as determined hereunder; and
WHEREAS, the Trustees have been duly appointed in
accordance with the provisions of this Agreement; ;
NOW, THEREFORE, in consideration of the premises and
mutual covenants and agreements herein contained, it is
hereby agreed as follows:
ARTICLE I
DEFINITIONS

Section 1.1 Employer. The terms "Employer" and

"Contractor" as used herein shall mean:

{a) An employer who is a member of, or is repre-
sented in collective bargaining by, the Association and who
is bound by a collective bargaining agreement with the Union
providing for the making of payments to the Trust Fund with
respect to employees represented by the Union.

(b) An employer who. is not a member of, nor
represented in collective bargaining by, the Association,
but who has duly executed or is bound by a collective bargain-~
ing agreement with the Union providing for the making of
payments to the Trust with respect to employees represented
by the Union,

{c} The Union which, for the purpose of making
the required contributions into the Trust, shall be consi-
dered as the Employer of the full-time salaried officers of
the Union for whom the Union contributes to the Trust.

(2) Employers as described in this Section shall,

by the making of payments to the Trust, pursuant to such

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EXHIBIT B 7
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Case 1:08-cv-00498-L30-JLT Documenroae Fifed tifiarh “PA ge Bt Agreement
or to decide any issue arising under or involving the
interpretation of any collective bargaining agreement between
the Union and the Association, and such arbitrator shall
have no power or authority to change or modify any provisions
of any such collective bargaining agreements.

Section 3.14 Removal of Trustee {Violation of Act).

The Board of Trustees shall initiate action to cause the
removal of any fellow member Trustee who may be serving as a
Trustee in violation of the Act. The vacancies caused hy
such a removal shall be filled in accordance with Section
3,3 of this Article.

ARTICLE IV

CONTRIBUTIONS AND COLLECTIONS

Section 4.1 Employer Contributions.

{a) Each Employer shall make prompt contributions
Or payments to the Trust in such amount and-under the terms.
provided for in the applicable collective bargaining agreement
in effect from tima to time between the Employer or his
bargaining representative and the Union. an Employer shall
make such contributions on a monthly basis on such transmit-
tai reports as the Trustees May prescribe. The Trust shall
cause one copy of the transmittal report to be sent to the
Union. The Employer agrees that such contributions shall.
constitute an absolute obligation to the Trust, and such
obligation shall not be subject to set-off or counterclaim
which the Employer may have for any liability of the Union
or of an Employee.

(b) Contributions to the Trust shall be paid ta
the Trustees, ox to such depository as the Trustees shall
designate, only by check, bank draft, money order or other
yecognized written method of transmitting money or its
equivalent.

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and property, without prejudice, however, to the rights of the

Union to take whatever steps it deems necessary and wishes to

undertake for such purposes. Each Employer agrees to pay

reasonable costs of collection and reasonable attorneys' fees,

if found liable.

Section 4.4 Production of Records. Each Employer shall

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promptly furnish to the Trustees on demand the names of his

Employees, their Social Security numbers, the hours worked by
each Employee and such other information as the Trustees may
reasonably require in connection with the administration of
the Trust and for no other purpose. The Trustees may, by their
representatives, examine the pertinent employment and payroll
records of each Employer at the Employer's place of business
whenever such examination is deemed necessary or advisable by
the Trustees in connection with the proper administration of
the Trust. The Union shall, upon the request of the Trustees,
promptly furnish information in respect to an Employee's
employment status.

If the audit of the Employer's payroll records finds
additional amounts of contributions due and delinquent to the
Trustees, then the Employer shall be Liable for the reasonable
costs incurred by the Trustees in performing the audit.

‘

Section 4.5 Monthly Reports; Liquidated Damages. Each

monthly contribution to the Trust shall bé made promptly and
shall include all, Employees covered by this Agreement who
shall have worked during the Employer's payroll month and
shall be paid on or before the 15th day of the calendar
month following the payroll month in which the Employee
worked, Any contributions received later than the 20 th day
‘of the calendar, month following the payroll month in which
the Employee worked shall be. considered delinquent. The
parties recognize and acknowledge that the reqular and
prompt payment of Employer contributions to the Trust is

essential to the maintenance of the Trust, and that it

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EXHIBIT B 9
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the actual expense and damage to the Trust which would

result from the failure of the Employer to pay his contri-
butions in full within the time above provided. Therefore,
the amount of damage to the Trust resulting from any such fai-
lure ‘shall be presumed to be the sum of $20.00 or 10%,
whichever is greater, of the amount owed for each month the
Employer is delinquent and/or deficient in his payments.

This amount shall become due and payable to the Trust by the
Employer as liquidated damages, and not as a penalty, if
assessed by the Trustees and shall be a part of any award
granted by the Labor-Management Committee under a collective
bargaining agreement and shall be in addition to the required
contribution.

Section 4.6 Farly Reporting for Delinquents. If any

individual Employer fails to make his or its monthly contri-
bution in full on or before the 15th day of the month on |
three occasions within any twelve~month period, the Trustees
may provide by resolution that thereafter during the twelve-
month period immediately following such resolution the 10th
day of the month shall be the delinquency date for such

. individual Employer.

Section 4.7 Employer Liability to Employees. A

delinquent Employer shall be liahle to any Employee wha is
affected by such delinquency, in a sum equal to the value of
the benefits lost by the Employee by reason of the delinquency
of said Contractor. A delinquent Employer shall be liable

to reimburse this Trust for the cost or value of any benefits
which may be made available by the Trustees to any Employee
affected by the failure of the delinquent Employer to make

the required contribution under this Trust.

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EXHIBIT B 10
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Employer, of any contribution or other moneys owed to the
Trust shall not relieve any other Employer from his or its
obligation to make required payments to the Trust.

. ARTICLE V

POWERS AND DUTIES OF TRUSTEES

Section 5.1 Conduct of Trust Business. The Trustees

shall have general supervision of the operation of this
Trust and shall conduct the business and activities of the
Trust in accordance with this Trust Agreement and applicable
jaw. The Trustees shail hold, manage and protect the Trust
and collect the income therefrom and contributions thereto.
The Trustees may, in the course of conducting the business
of the Trust, execute all instruments in the name of the
Trust which instruments shall be signed by at least one
Employer Trustee and one Employee Trustee, provided, however,
any one Trustee may execute legal documents to’ commence and
process law suits to enforce trust collections on behalf of
the Trustees.

Section 5.2 Use of Fund for Expenses. The Trustees

shall have the power and authority to use and apply assets
of the Trust to pay or provide for the payment of all reasonable
and necessary expenses (i) of collecting the Employer
contributions and payments and other moneys and property ta
which they may be entitled and (ii) of administering the
affairs of this Trust, including the employment of such
- administrative, iegal,expert and clerical assistance, the
purchase or lease of such premises, materials, supplies and
equipment and the performance of such other acts, as the
Trustees, in their sole discretion, find necessary or

appropriate in the performance of their duties.

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EXHIBIT B 1]
